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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

NEUTRON DEPOT, LLC AND                     §
DEPOTWEB, INC.                             §
                                           §
                Plaintiffs                 §     Civil Action No.
                                           §
v.                                         §     JURY TRIAL DEMANDED
                                           §
BANKRATE, INC;                             §
ALL WEB LEADS, INC.;                       §
DAVID HAAN dba INSURANCE-                  §
DEPOT.COM;                                 §
QUOTELAB, LLC dba                          §
QUOTELAB.COM;                              §
ALL INSURANCE DEPOT, INC.,                 §
RODGERS NO KA ‘OI, LLC dba                 §
COLORADO INSURANCE DEPOT;                  §
SHOW-ME INSURANCE DEPOT, LLC;              §
INSURANCE DEPOT OF AMERICA,                §
LLC;                                       §
THE INSURANCE DEPOT, INC. dba              §
THEINSURANCEDEPOT.COM;                     §
JIM ECFORD dba PRISM INSURANCE             §
DEPOT; and                                 §
DOE dba INSURANCEDEPOTTEXAS.COM            §
               Defendants                  §


     PLAINTIFFS NEUTRON DEPOT, LLC AND DEPOTWEB, INC.’S
     ORIGINAL COMPLAINT FOR TRADEMARK INFRINGEMENT


       Neutron Depot, LLC and DepotWeb, Inc. (“Plaintiffs”), by their undersigned attorneys,

for their Complaint against Defendants: Bankrate, Inc., 11760 U.S. Highway 1, Suite 200,

North Palm Beach, FL 33408; All Web Leads, Inc., 9 Kern Ramble St., #A, Austin, TX 78722-

1938; David Haan dba Insurance-Depot.org and Insurance–Depot.com, 5445 W. Reno Ave.,

#1616, Las Vegas, Nevada 89118; QuoteLab, LLC dba QuoteLab.com, 1223 Wilshire Blvd.,

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#120, Santa Monica, California 90403; All Insurance Depot, Inc., 15812 SW 137 Avenue,

Miami, Florida 33177; Rodgers No Ka ‘Oi, LLC dba Colorado Insurance Depot, 11199 Rock

Wren, Littleton, Colorado 80125; Show-Me Insurance Depot, LLC, 407 E. Ashley Rd.,

Boonville, Missouri 65233; Insurance Depot of America, LLC, 653 Spinnaker, Weston,

Florida 33226; The Insurance Depot, Inc. dba TheInsuranceDepot.com, 11769 Amethyst Ct.,

Fountain Valley, CA. 92708, Jim Ecford dba Prism Insurance Depot, 3040 FM 1960 E, Suite

110, Houston, Texas 77073, and Doe dba InsuranceDepotTexas.com (collectively

Defendants), allege as follows:

        This is an action for: trademark infringement, unfair competition, anti-cybersquatting and

dilution under the Trademark Act of 1946, as amended, 15 U.S.C. § 1051 et seq. (“Lanham

Act”), including 15 U.S.C. §§ 1114, 1125; and trademark infringement, unfair competition and

conspiracy under common law.

                                        JURISDICTION AND VENUE


        1.          This Court has subject matter jurisdiction under 15 U.S.C. § 1121 insofar as it

arises under Lanham Act. This Court has pendent jurisdiction over the state law claims because

they arise from a common nucleus of operative facts.

        2.          This Court has personal jurisdiction over Defendants in that Defendants do

business and/or conduct infringing acts in this District, including the operation of interactive

websites and marketing.

        3.          Venue is proper under 28 U.S.C. § 1391(b) in that a substantial part of the events

or omissions giving rise to Plaintiffs’ claims occurred in this District and Defendants do business

in this District.


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                                          THE PARTIES

       4.      Plaintiff Neutron Depot, LLC is a Texas Limited Liability Corporation and

Plaintiff DepotWeb, Inc. is a Texas Corporation. Both Plaintiffs have a principal place of

business located at 13703 Neutron Road, Dallas, Texas 75244. Further, Plaintiffs, among other

things, engage in, and/or have engaged in, the marketing, sale and servicing of insurance and

insurance related products and services. Plaintiffs do business, and/or have done business,

throughout this District and in interstate commerce.

       5.      On information and belief, Defendant Bankrate, Inc. (“Bankrate”) is a foreign

corporation that transacts business within the State of Texas, with its principal place of business

at 11760 U.S. Highway 1, Suite 200, North Palm Beach, FL 330408, which, among other things,

markets and sells insurance and insurance related products and services, and does business

throughout this District and in interstate commerce. Defendant Bankrate may be served with

summons and a copy of Plaintiffs’ Complaint by serving Defendant’s registered agent for service

at its place of business: Corporation Service Company dba CSC - Lawyers Incorporating

Company, 211 E. 7th Street, Suite 620, Austin, Texas 78701-3218.

       6.      On information and belief, Defendant All Web Leads, Inc. (“All Web”) is a

foreign corporation that transacts business within the State of Texas, with its principal place of

business at 9 Kern Ramble St., #A, Austin, TX 78722-1938, which, among other things, markets

and sells insurance and insurance related products and services, and does business throughout

this District and in interstate commerce. Defendant All Web may be served with summons and a

copy of Plaintiffs’ Complaint by serving Defendant’s registered agent for service at its place of

business, C T Corporation System, 1999 Bryan St., Suite 900, Dallas, Texas 75207.



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       7.     On information and belief, Defendant David Haan dba Insurance-Depot.org

and Insurance–Depot.com (“Haan”) is an individual who transacts business within the State of

Texas, with his principal place of business at 5445 W. Reno Ave., #1616, Las Vegas, Nevada

89118, who, among other things, markets and sells insurance and insurance related products and

services, and does business throughout this District and in interstate commerce. Defendant

Haan may be served with summons and a copy of Plaintiffs’ Complaint by serving him at its

place of business: 5445 W. Reno Ave., #1616, Las Vegas, Nevada 89118.

       8.     On information and belief, Defendant QuoteLab, LLC dba QuoteLab.com

(“QuoteLab”) is a foreign Corporation that transacts business within the State of Texas, with its

principal place of business at 1223 Wilshire Blvd., #120, Santa Monica, California 90403,

which, among other things, markets and sells insurance and insurance related products and

services, and does business throughout this District and in interstate commerce. Defendant

QuoteLab may be served with summons and a copy of Plaintiffs’ Complaint by serving

Defendant’s registered agent for service at its place of business: Corporation Service Company

dba CSC – Lawyers Incorporating Service, 2711 Centerville Rd., Wilmington, Delaware 19808.

       9.     On information and belief, Defendant All Insurance Depot, Inc. (“All Insurance

Depot”) is a foreign corporation that transacts business within the State of Texas, with its

principal place of business at 15812 SW 137 Avenue, Miami, Florida 33177, which, among other

things, markets and sells insurance and insurance related products and services, and does

business throughout this District and in interstate commerce. Defendant All Insurance Depot

may be served with summons and a copy of Plaintiffs’ Complaint by serving Defendant’s

registered agent for service at his place of business: Michael J. Reyes, 15220 SW 31st Street,

Miami, Florida 33185.

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       10.     On information and belief, Defendant Rodgers No Ka ‘Oi, LLC dba Colorado

Insurance Depot (“Colorado Insurance Depot”) is a foreign corporation that transacts

business within the State of Texas, with its principal place of business at 11199 Rock Wren,

Littleton, CO. 80125, which, among other things, markets and sells insurance and insurance

related products and services, and does business throughout this District and in interstate

commerce. Defendant Colorado Insurance Depot may be served with summons and a copy of

Plaintiffs’ Complaint by serving Defendant’s registered agent for service at its place of business:

Mark Thomas Rodgers, 11199 Rock Wren, Littleton, CO 80125.

       11.     On information and belief, Defendant Show-Me Insurance Depot, LLC

(“Show-Me Insurance”) is a foreign Company that transacts business within the State of Texas,

with its principal place of business at 407 E. Ashley Rd., Boonville, Missouri 65233, which,

among other things, markets and sells insurance and insurance related products and services, and

does business throughout this District and in interstate commerce.          Defendant Show-Me

Insurance may be served with summons and a copy of Plaintiffs’ Complaint by serving

Defendant’s registered agent for service at its place of business: Brenda K. Bader, 8330 Immele

Rd., Pilot Grove, Missouri 65276.

       12.     On information and belief, Defendant Insurance Depot of America, LLC

(“Insurance Depot America”) is a foreign corporation that transacts business within the State

of Texas, with its principal place of business at 653 Spinnaker, Weston, Florida 33226, which,

among other things, markets and sells insurance and insurance related products and services, and

does business throughout this District and in interstate commerce. Defendant Insurance Depot

America may be served with summons and a copy of Plaintiffs’ Complaint by serving



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Defendant’s registered agent for service at his place of business: Allen Will, 2325 SW 1-5th

Terrace, Davie, Florida 33324.

       13.    On information and belief, Defendant The Insurance Depot, Inc. dba

TheInsuranceDepot.com (“Insurance Depot Inc.”) is a foreign corporation that transacts

business within the State of Texas, with its principal place of business at 11769 Amethyst Ct.,

Fountain Valley, CA. 92708, which, among other things, markets and sells insurance and

insurance related products and services, and does business throughout this District and in

interstate commerce. Defendant Insurance Depot Inc. may be served with summons and a copy

of Plaintiffs’ Complaint by serving Defendant’s registered agent for service at its place of

business: 11769 Amethyst Ct., Fountain Valley, CA. 92708.

       14.    On information and belief, Defendant Jim Ecford dba Prism Insurance Depot

(“Prism”) is an individual who transacts business within the State of Texas, with its principal

place of business at 3040 FM 1960 E, Suite 110, Houston, Texas 77073 which, among other

things, markets and sells insurance and insurance related products and services, and does

business throughout this District and in interstate commerce. Defendant Jim Ecford may be

served with summons and a copy of Plaintiffs’ Complaint by serving Jim Ecford at his place of

business: 3040 FM 1960 E, Suite 110, Houston, Texas 77073.

       15.    On information and belief, Defendant Doe dba InsuranceDepotTexas.com

(“Doe”) is an unknown individual or entity who transacts business within the State of Texas,

with its principal place of business in Texas which, among other things, markets and sells

insurance and insurance related products and services, and does business throughout this District

and in interstate commerce. Defendant Doe may be served with summons and a copy of

Plaintiffs’ Complaint by serving Defendant’s current domain name registrar: TUCOWS

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DOMAINS INC. on behalf of WWW.INSURANCEDEPOTTEXAS.COM via email

disputes@opensrs.net.

                                      STATEMENT OF FACTS

       16.     For many years, Plaintiffs have been engaged in the marketing, sale and

distribution of insurance products and services.

       17.     Plaintiffs’ services and products are, and have been, sold and marketed

nationwide to individual customers and/or businesses.

       18.     On August 26, 1993, James T. Maxwell filed a federal trademark application with

the United States Patent and Trademark Office (“USPTO”) for INSURANCE DEPOT (the

“Mark”).

       19.     On July 5, 1994, the USPTO granted the registration of the Mark as Fed. Reg.

1,843,194.

       20.     The Mark is owned by CSi Agency Services, Inc. (CSi).

       21.     The Mark has been in continuous use with the public as an identifier of source of

goods, or services, since 1993.

       22.     The Mark has been rendered “incontestable” by the USPTO, and all applicable

fees and usage filings have been filed and maintained with the USPTO.

       23.     CSi executed written agreements with both of the Plaintiffs in which CSi licensed

the use of the Mark to Plaintiffs together with the right of enforcement and the right to bring suit

under the Mark.

       24.     Proper notice of the registration of this Mark has been maintained on the website

www.insurancedepot.com, and upon written documents, pursuant to the terms of 15 U.S.C. §



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1111; and thus, Plaintiffs are entitled to all applicable damages and remedies under the Lanham

Act.

         25.   Plaintiffs have actively advertised, marketed and continuously promoted the Mark

both online at www.insurancedepot.com, and upon written documentation, wherever and

whenever Plaintiffs have offered, or sold, insurance services and related products to customers

and potential customers.

         26.   Likewise, Plaintiffs have actively advertised, marketed and continuously

promoted the Mark both online at www.insurancedepot.com, and upon written documentation,

wherever and whenever Plaintiffs have displayed, and have presented, the insurance services and

products to customers and potential customers.

         27.   The insurance services and products that the Plaintiffs have sold, offered for sale,

and/or displayed in direct reference to the Mark have been a significant good will and

commercial success for Plaintiffs.

         28.   The Plaintiffs’ Mark acts as a valuable source identifier among the relevant class

of customers, namely, buyers or potential buyers (leads) for insurance services, products and/or

goods.

         29.   Accordingly, Plaintiffs own and/or license exclusive, valuable trade dress and/or

trademark rights to the Mark.

         30.   Following registration of the Mark, and riding on the coattails of the reputation

and commercial success established in connection with the Mark itself, Defendants launched

competing insurance service and/or product campaigns, online and/or in paper directly misusing

Plaintiffs’ registered Mark.



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                                   DEFENDANT SPECIFIC FACTS

       31.     Within the last thirty (30) days, Plaintiffs used the search term “Insurance Depot”

to check for potential infringers of the Mark and found the following Defendants’ website

advertisements and links as set forth herein.

                                     Defendant Bankrate, Inc.

       32.     Upon information and belief, Defendant Bankrate’s infringing uses of Plaintiffs’

Mark include, but are not limited to, the following:

       insurancedepot.com
       www.EasyInsuranceSave.com
       Get Free Auto Insurance Quotes. Compare & Save Money Now!

       www.insurancedepot.com – Save as much as you can on ...
       easysaveinsurance.com/www-insurancedepot-com-save-as-much-as-you-...
       Sep 8, 2013

       www.insurancedepot.com comparison site. You can also clear your doubts through a
       phone call.

       Insurance Depot
       Depot.AutoInsuranceQuotes.com
       6 Minutes Can Save You $540 on Auto
       Insurance- Get Free Quotes!

       Insurance Depot
       www.autoinsurancequotes.com/news/insurance-depot
       Insurance Depot. Average Savings $425, 10 Car Quotes from Providers Allstate, Geico,
       Nationwide & More. Cheap Auto Insurance From AutoInsuranceQuotes.Com

       ### www.insurance depot.com – Get suitable auto ...
       insurancesmartcompare.com/www-insurance-depot-com-get-suitable- aut...
       insurance depot – Reduce your auto insurance cost quickly ...
       insurancesmartcompare.com/insurance-depot-reduce-your-auto- insuranc...

       $$$ insurancedepot.com – Get cheap auto insurance fit in ...
       insurancesmartcompare.com/insurancedepot-com-get-cheap-auto-insura...
       May 4, 2013 - Guardians and parents, who require to experience low-cost
       insurancedepot.com policy for youthful motorists, ought not to ever offer sports




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       +++ www.insurancedepot.com - InsuranceSmartCompare.com
       insurancesmartcompare.com/www-insurancedepot-com-get-cheap-car- in...
       May 15, 2013 - Where don't you discover these
       www.insurancedepot.com quotes website pages?
       www.insurancedepot.com. Car insurance is very important ...

       Insurancedepot.com – Get Affordable Quotes From Multiple ...
       rightinsuranceprotection.com/.../insurancedepot-com-get-affordable-quo...
       Time to save insurancedepot.com. Start quotes now!
       insurancedepot.com – Tips on how to select automobile insurance suit you.
       insurancedepot.com. How to ...

       DEPOT INSURANCE - complete info
       insugreat.com/depot-insurance.html
       The biggest difference between a broker and an agent is the fact that an agent is
       employed by and represents a specific depot insurance company. Due to the ...

       Auto Insurance Depot - Quotes
       insiwmg.com/auto-insurance-depot.html
       This approach will always give you an added advantage in getting best      rates for you. o
       Situations that result in personal belongings being stolen
       Unplanned ...

       AUTO INSURANCE DEPOT - affordable insurance
       lineinsure.com/auto-insurance-depot.html
       Although no cover is available for the pre-existing condition during the first two years of
       the policy, if the policy holder has been free of any such pre
       existing ...

       Insurance Depot - Quotes
       insbfdi.com/insurance-depot.html
       Insurance Depot However, if you need long term care of assisted living, you will need
       more than just regular health insurance. While this information is useful in ...

       INSURANCE DEPOT TEXAS - free instant quotes
       insucrazy.com/insurance-depot-texas.html
       While some agents make lucrative income in insurance business, many other find being
       insurance agents is never easy, there are always rejection, dejection and abjection.

A true and correct copy of Defendant Bankrate’s exemplar infringing website(s),

advertisement(s) and/or link(s) is attached herein as Exhibit 1.

       33.     Once a prospective insurance customer clicks on the aforementioned website

advertisement or link, the prospective customer will not reach Plaintiffs’ website:

www.insurancedepot.com.

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         34.    Rather, Defendant Bankrate’s paid website advertisements or links irrevocably

divert     in     the    case     of       the         websites   www.EasyInsuranceSave.com        and

www.isurancesmartcompare.com,          or    circumnavigate       in   the   case   of   the   websites

www.Depot.AutoInsuranceQuotes.com                and     www.autoinsurancequotes.com/news/insurance-

depot, prospective insurance customers or leads from Plaintiffs’ website to this Defendant’s

website(s).

         35.    Upon information and belief, the owner of this these infringing website

advertisement(s) and/or link(s) is Defendant Bankrate in this case.

         36.    Accordingly, the Mark is currently being actively misused by this Defendant, as is

demonstrated in the website printouts to improperly generate business at the expense of

Plaintiffs’ Mark.

                                  Defendant All Web Leads, Inc.

         37.    Upon information and belief, Defendant All Web’s infringing uses of Plaintiffs’

Mark include, but are not limited to, the following:

         insurance depot - InsureDirectQuotes.com
         www.insuredirectquotes.com/?t202id=5301&t202kw=insurance%20depot
         [Links to] UsInsuranceOnline.com - Insurance Quotes | Online ...
         www.usinsuranceonline.com

         Insurance Depot $1/Day
         Insurance-Depot.com
         http://www.insurance-depot.com/

         Insurance Depot Houston Dallas Texas
         www.insurance-depot.org/
         Compare Insurance Depot quotes in Houston Dallas Texas.

A true and correct copy of Defendant All Web’s exemplar infringing website(s),

advertisement(s) and/or link(s) is attached herein as Exhibit 2.



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       38.     Once a prospective insurance customer clicks on the aforementioned website

advertisements or links, the prospective customer will not reach Plaintiffs’ website:

www.insurancedepot.com.

       39.     Rather, Defendant All Web’s paid website advertisements or links irrevocably

divert or circumnavigate prospective insurance customers or leads from Plaintiffs’ website to this

Defendant’s website(s): www.quotes.insurance—quotes.com, www.usinsuranceonline.com, and

www.insurancedirectquotes.com.

       40.     Upon information and belief, the owner of this these website advertisement(s)

and/or link(s) is Defendant All Web in this case.

       41.     Accordingly, the Mark is currently being actively misused by this Defendant, as is

demonstrated in the website printouts to improperly generate business at the expense of

Plaintiffs’ Mark.

                                  Defendant David Haan
                     dba Insurance–Depot.org and Insurance-Depot.com

       42.     Upon information and belief, Defendant Haan’s infringing uses of Plaintiffs’

Mark include, but are not limited to, the following:

       insurance depot - InsureDirectQuotes.com
       www.insuredirectquotes.com/?t202id=5301&t202kw=insurance%20depot
       [Links to] UsInsuranceOnline.com - Insurance Quotes | Online ...
       www.usinsuranceonline.com

       Insurance Depot $1/Day
       Insurance-Depot.com
       http://www.insurance-depot.com/

       Insurance Depot Houston Dallas Texas
       www.insurance-depot.org/
       Compare Insurance Depot quotes in Houston Dallas Texas.




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A true and correct copy of Defendant Haan’s exemplar infringing website(s), advertisement(s)

and/or link(s) is attached herein as Exhibit 3.

       43.     Once a prospective insurance customer clicks on the aforementioned website

advertisements or links, the prospective customer will not reach Plaintiffs’ website:

www.insurancedepot.com.

       44.     Rather, Defendant Haan’s paid website advertisements or links irrevocably divert

or circumnavigate prospective insurance customers or leads from Plaintiffs’ website to this

Defendant’s website(s): www.insurance-depot.com and www.insurance-depot.org.

       45.     Upon information and belief, the owner of this these website advertisement(s)

and/or link(s) is Defendant Haan in this case.

       46.     Accordingly, the Mark is currently being actively misused by this Defendant, as is

demonstrated in the website printouts to improperly generate business at the expense of

Plaintiffs’ Mark.

                        Defendant QuoteLab, LLC dba QuoteLab.com

       47.     Upon information and belief, Defendant QuoteLab’s infringing uses of Plaintiffs’

Mark include, but are not limited to, the following:

       Insurance Depot (Texas) - QuoteLab.com
       depot.quotelab.com/Texashttps://www.google.com/search?client=safari&rls=en&q=%22i
       nsurance+depot%22&ie=UTF-8&oe=UTF-8
       Cheapest Texas Rates from $19 Free Quotes - Switch & Save 75%!

       Insurance Depot (Texas) - Cheapest Texas Rates from $19
       Addepot.quotelab.com/Texas
        (888) 794-5009
       Free Quotes - Switch & Save 75%!
       Save $520 in TexasSwitching? Compare & SaveTexas Driver DiscountsUninsured &
       New Drivers




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       Insurance Depot (Texas) - Cheapest Texas Rates from $19
       depot.quotelab.com/Texas
       (888) 794-5009

       Free Quotes - Switch & Save 75%!
       Save $520 in TexasSwitching? Compare & SaveTexas Driver DiscountsUninsured &
       New Drivers

A true and correct copy of Defendant QuoteLab’s exemplar infringing website(s),

advertisement(s) and/or link(s) is attached herein as Exhibit 4.

       48.     Once a prospective insurance customer clicks on the aforementioned website

advertisements or links, the prospective customer will not reach Plaintiffs’ website:

www.insurancedepot.com.

       49.     Rather, Defendant QuoteLab’s paid website advertisements or links irrevocably

divert or circumnavigate prospective insurance customers or leads from Plaintiffs’ website to this

Defendant’s website(s).

       50.     Upon information and belief, the owner of this these infringing website

advertisement(s) and/or link(s) is Defendant QuoteLab in this case.

       51.     Accordingly, the Mark is currently being actively misused by this Defendant, as is

demonstrated in the website printouts to improperly generate business at the expense of

Plaintiffs’ Mark.

                              Defendant All Insurance Depot, Inc.

       52.     Upon information and belief, Defendant All Insurance Depot’s infringing uses of

Plaintiffs’ Mark include, but are not limited to, the following:

       All Insurance Depot - A Independent Insurance Agency
       www.all-insurancedepot.com

       All Insurance Depot - Orlando, FL | Insurance Agent Reference
       www.insuranceagentreference.com/detail/all-insurance-de...


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       Infinity insurance provider All Insurance Depot provides quick and risk free quotes for
       health & life insurance, homeowners & renters, auto insurance and more.

A true and correct copy of Defendant All Insurance Depot’s exemplar infringing website(s),

advertisement(s) and/or link(s) is attached herein as Exhibit 5.

       53.     Once a prospective insurance customer clicks on the aforementioned website

advertisements or links, the prospective customer will not reach Plaintiffs’ website:

www.insurancedepot.com.

       54.     Rather, Defendant All Insurance Depot’s paid website advertisements or links

irrevocably diverts or circumnavigates prospective insurance customers or leads from Plaintiffs’

website to Defendant’s website(s): www.all-insurancedepot.com.

       55.     Upon information and belief, the owner of this these website advertisement(s) and

link(s) is Defendant All Insurance Depot in this case.

       56.     Accordingly, the Mark is currently being actively misused by this Defendant, as is

demonstrated in the website printouts to improperly generate business at the expense of

Plaintiffs’ Mark.


             Defendant Rodgers No Ka ‘Oi, LLC dba Colorado Insurance Depot

       57.     Upon information and belief, Defendant Colorado Insurance Depot’s infringing

uses of Plaintiffs’ Mark include, but are not limited to, the following:

       www.coloradoinsurancedepot.com
       At Colorado Insurance Depot, it is our mission to help you find a home and auto
       insurance policy that gives you the most bang for your buck.

       About Colorado Insurance Depot - Compare Colorado Home ...
       www.coloradoinsurancedepot.com/about-us.html
       Compare Colorado Home & Auto Insurance Quotes Online ...
       www.coloradoinsurancedepot.com



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A true and correct copy of Defendant Colorado Insurance Depot’s exemplar infringing

website(s), advertisement(s) and/or link(s) is attached herein as Exhibit 6.

       58.     Once a prospective insurance customer clicks on the aforementioned website

advertisement or link, the prospective customer will not reach Plaintiffs’ website:

www.insurancedepot.com.

       59.     Rather, Defendant Colorado Insurance Depot paid website advertisements or links

irrevocably diverts or circumnavigates prospective insurance customers or leads from Plaintiffs’

website to Defendant’s website(s): www.coloradoinsurancedepot.com.

       60.     Upon information and belief, the owner of this these website advertisement(s) and

link(s) is Defendant Colorado Insurance Depot in this case.

       61.     Accordingly, the Mark is currently being actively misused by this Defendant, as is

demonstrated in the website printouts to improperly generate business at the expense of

Plaintiffs’ Mark.

                          Defendant Show-Me Insurance Depot, LLC

       62.     Upon information and belief, Defendant Show-Me Insurance’s infringing uses of

Plaintiffs’ Mark include, but are not limited to, the following:

       SHOW ME INSURANCE DEPOT LLC | Find an Agent by ...
       insuranceagent.safeco.com/...me-insurance-depot.../0530084805303044
       We are an independent agency representing several high quality carriers and products to
       help us assist you in finding the best product for YOUR needs.

       Auto Insurance Business Insurance Life Insurance ...
       www.showmeinsdepot.com/

       Visit Show-Me Insurance Depot LLC online
       showmeinsdepot.com
       At Show-Me Insurance Depot LLC we are continuously working to provide the
       individual coverage you require. When it comes to protecting your auto, home, …



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A true and correct copy of Defendant Show-Me Insurance’s exemplar infringing website(s),

advertisement(s) and/or link(s) is attached herein as Exhibit 7.

       63.     Once a prospective insurance customer clicks on the aforementioned website

advertisement or link, the prospective customer will not reach Plaintiffs’ website:

www.insurancedepot.com.

       64.     Rather, Defendant Show-Me Insurance paid website advertisements or links

irrevocably diverts or circumnavigates prospective insurance customers or leads from Plaintiffs’

website to Defendant’s website(s): www.showmeinsdepot.com.

       65.     Upon information and belief, the owner of this these website advertisement(s) and

link(s) is Defendant Show-Me Insurance in this case.

       66.     Accordingly, the Mark is currently being actively misused by this Defendant, as is

demonstrated in the website printouts to improperly generate business at the expense of

Plaintiffs’ Mark.

                          Defendant Insurance Depot of America, LLC

       67.     Upon information and belief, Defendant Insurance Depot America’s infringing

uses of Plaintiffs’ Mark include, but are not limited to, the following:

       Welcome [insurancedepotamerica.com]
       insurancedepotamerica.com
       Insurance Depot of America (IDA) is here to make sure you get the best possible
       insurance coverage at the lowest possible cost. We believe it is the right of every ...

       Call us today get insured today in 15 minutes! 877-607-7999
       insurancedepotamerica.com/company.html
       Insurance Depot of America LLC. Here at IDA, we are dedicated to making sure every
       American has the best possible insurance coverage at the lowest cost.

A true and correct copy of Defendant Insurance Depot of America’s exemplar infringing

website(s), advertisement(s) and/or link(s) are attached herein as Exhibit 8.


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       68.     Once a prospective insurance customer clicks on the aforementioned website

advertisement or link, the prospective customer will not reach Plaintiffs’ website:

www.insurancedepot.com.

       69.     Rather, Defendant Insurance Depot America paid website advertisements or links

irrevocably diverts or circumnavigates prospective insurance customers or leads from Plaintiffs’

website to Defendant’s website(s): www.insurancedepotamerica.com.

       70.     Upon information and belief, the owner of this these website advertisement(s) and

link(s) is Defendant Insurance Depot America in this case.

       71.     Accordingly, the Mark is currently being actively misused by this Defendant, as is

demonstrated in the website printouts to improperly generate business at the expense of

Plaintiffs’ Mark.

             Defendant The Insurance Depot, Inc. dba TheInsuranceDepot.com

       72.     Upon information and belief, Defendant Insurance Depot Inc.’s infringing uses of

Plaintiffs’ Mark include, but are not limited to, the following:

       THE INSURANCE DEPOT : FIND INSURANCE QUOTES
       www.theinsurancedepot.com/
       About AARP Foundation. For more than 50 years, AARP Foundation has been dedicated
       to serving vulnerable people 50 and older by creating solutions that …

A true and correct copy of Defendant Insurance Depot Inc.’s exemplar infringing website(s),

advertisement(s) and link(s) is attached herein as Exhibit 9.

       73.     Once a prospective insurance customer clicks on the aforementioned website

advertisements or links, the prospective customer will not reach Plaintiffs’ website:

www.insurancedepot.com.




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       74.     Rather, Defendant Insurance Depot Inc.’s paid website advertisements or links

irrevocably diverts or circumnavigates prospective insurance customers or leads from Plaintiffs’

website to Defendant’s website(s): www.theinsurancedepot.com.

       75.     Upon information and belief, the owner of this these website advertisement(s) and

link(s) is Defendant Insurance Depot Inc. in this case.

       76.     Accordingly, the Mark is currently being actively misused by this Defendant, as is

demonstrated in the website printouts to improperly generate business at the expense of

Plaintiffs’ Mark.

                      Defendant Jim Ecford dba Prism Insurance Depot

       77.     Upon information and belief, Defendant Prism’s infringing uses of Plaintiffs’

Mark include, but are not limited to, the following:

       Prism Insurance Depot Home Page
       www.prisminsdepot.com
       Prism Insurance Depot covering all of your personal and business needs. Our convenient
       website allows you to request insurance quotes twenty-four hours a day. …

       Contact Us - Prism Insurance Depot
       www.prisminsdepot.com/contact.aspx

A true and correct copy of Defendant Prism’s exemplar infringing website(s), advertisement(s)

and/or link(s) is attached herein as Exhibit 10.

       78.     Once a prospective insurance customer clicks on the aforementioned website

advertisements or links, the prospective customer will not reach Plaintiffs’ website:

www.insurancedepot.com.

       79.     Rather, Defendant Prism’s paid website advertisements or links irrevocably

diverts or circumnavigates prospective insurance customers or leads from Plaintiffs’ website to

Defendant’s website(s): www.prisminsdepot.com

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       80.     Upon information and belief, the owner of this these website advertisement(s) and

link(s) is Defendant Prism in this case.

       81.     Accordingly, the Mark is currently being actively misused by this Defendant, as is

demonstrated in the website printouts to improperly generate business at the expense of

Plaintiffs’ Mark.

                        Defendant Doe dba InsuranceDepotTexas.com

       82.     Upon information and belief, Defendant Doe (InsuranceDepotTexas) infringing

uses of Plaintiffs’ Mark include, but are not limited to, the following:

       Insurance Depot, Dallas, TX
       www.insurancedepottexas.com
       Simple, easy car insurance. The only reason I remembered to Yelp this cause my bill is
       due lol. They are dirt cheap. I drive a Mercedes SUV, and I’m a 30 yr ….

       ww1.insurancedepottexas.com

       ww4.insurancedepottexas.com

       ww2.insurancedepottexas.com

A true and correct copy of Defendant Does’s exemplar infringing website(s), advertisement(s)

and/or link(s) is attached herein as Exhibit 11.

       83.     Once a prospective insurance customer clicks on the aforementioned website

advertisements or links, the prospective customer will not reach Plaintiffs’ website:

www.insurancedepot.com.

       84.     Rather, Defendant Doe’s paid website advertisements or links irrevocably diverts

or circumnavigates prospective insurance customers or leads from Plaintiffs’ website to

Defendant’s website(s): www.InsuranceDepotTexas.com.

       85.     Upon information and belief, the owner of this these website advertisement(s) and

link(s) is Defendant Doe in this case.

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           86.   Accordingly, the Mark is currently being actively misused by this Defendant, as is

demonstrated in the website printouts to improperly generate business at the expense of

Plaintiffs’ Mark.

                                   CONDUCT OF ALL DEFENDANTS

           87.   As set forth hereinabove, each Defendant’s imitation, and misuse, of the

Plaintiffs’ Mark has been intentional, deliberate and willful, and is without any license, consent,

authorization, or permission from Plaintiffs.

           88.   There can be no doubt that the Defendants’ insurance marketing, insurance

services and/or insurance products (collectively “Infringing Services”) are intended to compete

directly with the insurance marketing, goods, services and products offered by Plaintiffs in

connection with Plaintiffs’ business and Plaintiffs’ Mark.

           89.   Defendants have directly misappropriated and used the Plaintiffs’ Mark to

generate their own business as demonstrated by the above referenced website(s) and link(s).

           90.   In fact, Defendants continue to directly misappropriate and use the Plaintiffs’

Mark to generate their own business as also demonstrated by the above referenced website(s) and

link(s).

           91.   Defendants’ respective misuse of the Mark directly indicates that each Defendant

intended to promote its own services and products to be purchased as a substitute for the genuine

Plaintiffs’ insurance services, products and goods, which are identified by the use of the Mark.

           92.   In other words, it is clear that each identified Defendant willfully intended to steal

business generated by the Plaintiffs’ Mark, by misguiding the public into thinking that the Mark

is affiliated with each respective Defendant.



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       93.     On information and belief, each respective Defendant offers and sells its own

insurance leads, services, products and/or goods within the same geographic markets where

Plaintiffs have established customers for their products and goods, including the State of Texas.

       94.     On information and belief, each respective Defendant promotes its business by an

infringing use of the Mark for marketing and sales purposes on electronic media and/or written

materials, including, but not limited to links, websites, directory listings, sales calls, brochures

and other documents within the same customer market as Plaintiffs’ services, products or goods.

       95.     On information and belief, each respective Defendant promotes its business by the

use of meta tags, google adwords, or otherwise using Plaintiffs’ Mark in the promotion through

the internet of its goods and services.

       96.     By copying, verbatim, the Plaintiffs’ Mark and using it in commerce, each

respective Defendant is willfully creating a likelihood of confusion as to whether said

Defendant’s services, products, and/or goods are approved by Plaintiffs or otherwise related to or

affiliated with the Plaintiffs’ services, products, and/or goods.

                                          ACTUAL CONFUSION

       97.     In fact, Plaintiffs already have fielded comments and inquiries from potential

customers who, upon encountering one, or more, of Defendants’ infringing use of the Mark via

the process described, hereinabove, reported that they were unable to reach Plaintiffs’ website as

advertised on television.

       98.     Potential Customers have explained that upon searching for “Insurance Depot”

using Google and other search engines, they clicked on the first website advertisement or link

owned by one or more of the Defendants displaying Plaintiffs’ Mark.



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       99.       Thus, potential insurance customers, who sought Plaintiffs’ genuine services,

products and/or goods bearing the Mark, were misled and confused by virtue of one or more of

Defendants’ infringing uses of the Mark.

       100.      On information and belief, each respective Defendant’s use of the Plaintiffs’

Mark, or a close imitation thereof, is misleading to customers who will mistakenly believe said

Defendant is the creator or rightful owner of the Mark and the associated services, products,

and/or goods with the Mark, or otherwise mistakenly believe that an association exists between

the Parties’ respective products and/or services.

       101.      This diminishes the exclusive, source-identifying rights established by Plaintiffs

in their Mark.

       102.      On information and belief, Defendant’s respective insurance leads, services,

products, and/or goods may not be of the same high quality as Plaintiffs’ leads, services,

products and/or goods, resulting in harm to Plaintiffs’ goodwill and reputation as customers are

confused about a possible relationship between the Plaintiffs’ services, products and/or goods

and each respective Defendant’s leads, services, products, and/or goods.

       103.      Moreover, any defects or deficiencies in each respective Defendant’s services,

products and/or goods, will also negatively impact on the goodwill and reputation built up in the

unique Plaintiffs’ services, products and/or goods.

                             COUNT ONE
        TRADEMARK INFRINGEMENT UNDER FEDERAL LAW—15 U.S.C. §1114


       104.      Plaintiffs repeat and re-allege the allegations above, as if fully set forth herein.

       105.      Defendant’s respective acts complained of above constitute infringement of

Plaintiffs’ federal-registered trademarks and are in violation of 15 U.S.C. § 1114.

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       106.     Upon information and belief, the acts of each respective Defendant complained of

above are calculated to deceive the relevant consuming public into accepting and purchasing

Defendant’s goods and services in the mistaken belief that they are sponsored by or endorsed,

connected or affiliated with, or supplied under the supervision or with the approval of Plaintiffs.

       107.     As a result of each respective Defendant’s acts, Plaintiffs have already suffered

damage and will continue to suffer damage, while said Defendants profit at Plaintiffs’ expense.

Defendants’ activities entitle Plaintiffs to Defendants’ profits and to damages for such acts of

infringement.

       108.     Unless each Defendant is enjoined, Plaintiffs have no adequate remedy at law and

will be irreparably harmed.

       109.     Upon information and belief, Defendants’ respective acts complained of herein

have been and are grossly negligent, deliberate, willful, intentional, in bad faith, malicious, with

full knowledge and conscious disregard of Plaintiffs’ rights and with intent to cause confusion,

dilution, and to trade off Plaintiffs’ vast good will in its registered trademarks, making this an

exceptional case and entitling Plaintiffs to enhanced damages and attorney’s fees under 15

U.S.C. §1117.

                                       COUNT TWO
                               FEDERAL UNFAIR COMPETITION


       110.     Plaintiffs repeat and reallege the allegations above as if fully set forth herein.

       111.     The Plaintiffs’ Mark is recognized and relied upon by the relevant customer

market to identify the source of the Plaintiffs’ services, products and/or goods, and to distinguish

the Plaintiffs’ services, products, and/or goods from the products of others.



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       112.    The similarity of non-functional features and/or configurations in each

Defendant’s respective misuse of the Mark and/or services, products and/or goods associated

with the Mark creates a likelihood of consumer confusion as to the source, sponsorship,

affiliation or approval of the misused Mark and the genuine Plaintiffs’ services and products.

       113.    On information and belief, Defendants have been aware, since prior to the acts

complained of herein, that the relevant customer market recognizes and relies upon the Plaintiffs’

Mark to identify the services, products, and/or goods of the Plaintiffs and to distinguish them

from the products of others.

       114.    On information and belief, Defendants, in this District and elsewhere, sells, seeks

to sell, and/or actively induces the display of insurance services, products and/or goods

employing a feature or configuration which copies and simulates the Plaintiffs’ Mark, which is

used by Plaintiffs to market and sell their insurance services, products and/or goods.

       115.    Upon information and belief, Defendants have engaged and continue to engage in

a willful, conscious, and systematic practice of advertising, manufacturing, and selling or seeking

to sell its own services and products through misuse of the Mark with deceptive intent,

misappropriating the unique Plaintiffs’ Mark, and associated services, products and/or goods.

       116.    Defendants’ respective practices of selling, seeking to sell, and/or actively

inducing the sale of its own services, products and/or goods which misappropriates Plaintiffs’

Mark is likely to cause confusion as to the source of the services, products and/or goods, causing

injury to the business reputation and goodwill of Plaintiffs, their services, products and/or goods,

which are recognized for their high quality.

       117.    Defendants’ respective activities constitute the use in commerce of any word,

term, name, symbol, or device, or any combination thereof, or any false designation of origin,

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false or misleading description of fact, or false or misleading representation of fact, which is

likely to cause confusion, or to cause mistake, or to deceive as to the affiliation, connection, or

association of such person with another person, or as to the origin, sponsorship or approval of his

or her goods, services, or commercial activity of another person in violation of Section 43(a) of

the Trademark Act of 1946, 15 U.S.C. § 1125.

       118.    Defendants’ respective activities constitute the use in commerce of any word,

term, name, symbol or device, or any combination thereof or any false designation of origin,

false or misleading description of fact, or false or misleading representation of fact in connection

with goods, which in commercial advertising or promotion, misrepresents the nature,

characteristics, qualities or geographic origin of its or another person’s goods, services or

commercial activities in violation of Section 43(a) of the United States Trademark Act of 1946,

15 U.S.C. § 1125.

       119.    Defendants’ respective activities have caused, and will cause, further irreparable

injury to Plaintiffs, and unless such activities are restrained by this Court, they will be continued

and continue to cause great and irreparable injury to Plaintiffs.

       120.    Plaintiffs have no adequate remedy at law.

       121.    Plaintiffs seek attorney’s fees, costs and expenses pursuant to 15 U.S.C. § 1117.

       122.    Plaintiffs seek all damages available under law pursuant to 15 U.S.C. § 1117,

including, but not limited to, treble damages for Defendant’s knowing infringement of the Mark.

                                  COUNT THREE
                  DILUTION UNDER FEDERAL LAW—15 U.S.C. § 1125 (c)


       123.    Plaintiffs repeat and re-allege the allegations above, as if fully set forth herein.



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       124.      The Plaintiffs’ Trademarks are famous and distinctive. Defendants have adopted

and employed Plaintiffs’ Mark at a time after the Plaintiffs’ Mark had become famous and

distinctive, and Defendants have diluted and/or harmed the value of Plaintiffs’ famous Mark.

       125.      Defendants respective acts complained of above constitute dilution of Plaintiffs’

Mark in violation of Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c).

       126.      As a result of Defendants respective acts, Plaintiffs have already suffered damage

and will continue to suffer damage, while Defendants profit at Plaintiffs’ expense. Defendants’

activities entitle Plaintiffs to Defendants’ profits and to damages for such dilution.

       127.      Unless Defendants are enjoined, Plaintiffs have no adequate remedy at law and

will be irreparably harmed.

       128.      Upon information and belief, Defendants’ respective acts complained of herein

have been and are grossly negligent, deliberate, willful, intentional, in bad faith, malicious, with

full knowledge and conscious disregard of Plaintiffs’ rights and with intent to cause confusion,

dilution, and to trade off Plaintiffs’ vast goodwill in Plaintiffs’ Trademark, making this an

exceptional case and entitling Plaintiffs to enhanced damages and attorney’s fees under 15

U.S.C. § 1117.

                                 COUNT FOUR
                 ANTI-CYBERSQUATTING CONSUMER PROTECTION ACT


       129.      Plaintiffs repeat and re-allege the allegations above, as if fully set forth herein.

       130.      Upon information and belief, the following Defendants acquired, and

subsequently made use of, the following domains:

       insurancedepotamerica.com1

       showmeinsdepot.com2

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       coloradoinsurancedepot.com3

       all-insurancedepot.com4

       theinsurancedepot.com5

       insurance-depot.com6

       insurance-depot.org7

       insurancedepottexas.com8

       131.    These websites are respectively owned by the Defendants: Insurance Depot

America1, Show-Me Insurance2; Colorado Insurance Depot3; All Insurance Depot4, Insurance

Depot Inc.5, All Web6,7, Haan6,7 and Doe8. True and correct copies of these domain name

registration records reflecting each respective Defendant’s ownership of the domain(s) are

attached hereto as Exhibits 2-36,7, Exhibit 54, Exhibit 63, Exhibit 72, Exhibit 81, Exhibit 95, and

Exhibit 118, and are hereby incorporated by reference as though set forth in full herein.

       132.    Plaintiffs began using the distinctive and famous Mark, INSURANCE DEPOT,

years prior to Defendant’s acquisition of the domain names reference in Paragraph 65,

hereinabove.

       133.    Before these Defendants acquired their respective domain names, the Mark was

widely recognized as an indicator of source for Plaintiffs’ Insurance services, and was famous.

       134.    Defendant’s respective domain names were confusingly similar and/or dilutive of

the Plaintiffs’ Marks.

       135.    Plaintiffs are informed and believe, and based thereon alleges, that each

respective Defendant acquired and has used its domain name(s) with bad faith intent to profit

from Plaintiffs’ Mark.



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       136.       Defendants’ respective acts alleged above have caused, and if not enjoined will

continue to cause, irreparable and continuing harm to Plaintiffs’ Mark, business, reputation, and

goodwill. Plaintiffs have no adequate remedy at law as monetary damages are inadequate to

compensate Plaintiffs for the injuries caused by said Defendants.

       137.       Plaintiffs are entitled to cancellation of each Defendant’s respective domain

name(s) registration or transfer of said domain name(s) to Plaintiffs, along with monetary

compensation and statutory penalties pursuant to the Anti-Cybersquatting Consumer Protection

Act, 15 U.S.C. § 1125(d).

                                   COUNT FIVE
                    TEXAS COMMON LAW TRADEMARK INFRINGEMENT


       138.       Plaintiffs repeat and re-allege the allegations above, as if fully set forth herein.

       139.       Defendants have injured Plaintiffs by unlawfully using the Plaintiffs’ Mark and

causing a likelihood of confusion or misunderstanding among the relevant customer market as to

the source, sponsorship, approval, of affiliation of the services, products and/or goods.

Defendants’ respective conduct constitutes trademark infringement under the common law of the

State of Texas.

       140.       As a result of the aforesaid acts by Defendants, Plaintiffs have suffered and

continue to suffer substantial damages and irreparable injury, which damages and injury cannot

be accurately computed at this time.

       141.       Unless Defendants are restrained and enjoined by this Court, said acts will be

continued and will continue to irreparably harm Plaintiffs.

       142.       Plaintiffs have no adequate remedy at law.



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       143.    Plaintiffs seek all damages available under both statutory and Texas common law

including, but not limited to, actual and punitive damages for knowing infringement of the Mark.

                                           COUNT SIX
                                       CIVIL CONSPIRACY


       144.    Plaintiffs repeat and re-allege the allegations above, as if fully set forth herein.

       145.    On information and belief, two or more of the Defendants had knowledge of,

agreed to, and intended a common objective or course of action that resulted in damages to

Plaintiffs constituted a civil conspiracy under the laws of State of Texas and the United States.

       146.    Two or more of the Defendants participated and/or conspired together in an online

marketing campaign or common objective to procure insurance leads and sales. One or more of

Defendants involved in the conspiracy infringed upon Plaintiffs’ Mark in furtherance of the

conspiracy.

       147.    Defendants’ respective conduct constitutes civil conspiracy under the common

law of the State of Texas and the United States.

       148.    As a result of the aforesaid acts by Defendants, Plaintiffs have suffered and

continue to suffer substantial damages and irreparable injury, which damages and injury cannot

be accurately computed at this time.

       149.    Unless Defendants are restrained and enjoined by this Court, said acts will be

continued and will continue to irreparably harm Plaintiffs.

       150.    Plaintiffs have no adequate remedy at law.

       151.    Plaintiffs seek all damages available under both Texas and Federal common law

including, but not limited to, actual and punitive damages for knowing infringement of the Mark.



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                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray that the Court:

       Issue a temporary restraining order, preliminary injunction and permanent injunction

against each Defendant, its agents, servants, employees, officers, attorneys, successors and

assigns, and all persons, firms and corporations acting in concert or participation with each said

Defendants or on each said Defendants behalf as follows:

       a. Prohibiting it from manufacturing, importing, promoting, marketing,
          distributing, offering for sale, selling, advertising or providing any products in
          connection with the Plaintiffs’ Mark, INSURANCE DEPOT, or any other
          trademark or trade dress that is confusingly similar to the Plaintiffs’ Mark
          INSURANCE DEPOT;

       b. Prohibiting it from representing that any products promoted, marketed,
          distributed, sold, advertised or provided by Defendants are sponsored or
          authorized by, or associated with Plaintiffs;

       c. Prohibiting it from any other use of the Mark, INSURANCE DEPOT, or a
          derivation thereof, in any manner which is likely to confuse customers and/or
          the public into believing that Defendants’ services, products and/or goods
          originate from, are associated with, or are sponsored by Plaintiffs;

       d. Ordering it to remove pictures of products incorporating the Mark,
          INSURANCE DEPOT, or confusingly similar trade dress or trademarks from
          any and all of Defendants’ advertising, websites, affiliated websites and
          promotional materials or to deliver such materials to Plaintiffs for destruction;

       e. Ordering it to deliver to Plaintiffs all products and/or goods bearing the Mark,
          INSURANCE DEPOT, or confusingly similar trade dress or trademarks,
          wherever found, and to provide a written accounting of where such products
          have been distributed, displayed or used.

       f. Prohibiting it from using the phrase INSURANCE DEPOT as a keyword that
          would cause any search engine to include, in a search for “insurance depot”,
          “insurancedepot”, or in any other string of letters that include both of the
          words “insurance” and “depot” in any order or position of the string, any web
          page or URL that is within the control of Defendants.




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       After a hearing on the merits, award Plaintiffs their damages and Defendants’ profits

including trebling said damages or profits based upon Defendants’ knowing infringement of the

Plaintiffs’ Mark, and Plaintiffs’ costs and attorney’s fees. Plaintiffs may alternatively seek

statutory damages pursuant to 15 U.S.C. § 1117.

       Grant Plaintiffs such other and further relief as this Court deems to be reasonable,

necessary and just.

       Plaintiffs Demand a Jury Trial for all issues so triable.

       Dated: May 27, 2014

                                              Respectfully submitted,

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